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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -----------------------------------------------------------X
 LINDA SLADE, Individually and as the
 representative of a class of similarly situated persons,
                                                                Case No. 22-cv-9362
                                          Plaintiff,

                          - against -

 RAW APOTHECARY LLC,

                                            Defendant.
 -----------------------------------------------------------X


                                   COMPLAINT – CLASS ACTION

                                             INTRODUCTION

                 1. Plaintiff, Linda Slade (“Plaintiff” or “Slade”), brings this action on behalf of

herself and all other persons similarly situated against Raw Apothecary LLC (hereinafter “Raw

Apothecary” or “Defendant”), and states as follows:

                 2. Plaintiff is a visually-impaired and legally blind person who requires screen-

reading software to read website content using his computer. Plaintiff uses the terms “blind” or

“visually-impaired” to refer to all people with visual impairments who meet the legal definition of

blindness in that they have a visual acuity with correction of less than or equal to 20 x 200. Some

blind people who meet this definition have limited vision; others have no vision.

                 3. Based on a 2010 U.S. Census Bureau report, approximately 8.1 million people

in the United States are visually impaired, including 2.0 million who are blind, and according to
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the American Foundation for the Blind’s 2015 report, approximately 400,000 visually impaired

persons live in the State of New York.

               4. Plaintiff brings this civil rights action against Raw Apothecary for their failure

to design, construct, maintain, and operate their website to be fully accessible to and independently

usable by Plaintiff and other blind or visually-impaired persons. Defendant is denying blind and

visually-impaired persons throughout the United States with equal access to the goods and services

Raw       Apothecary       provides       to     their     non-disabled       customers       through

http//:www.rawapothecary.com (hereinafter “rawapothecary.com” or “the website”). Defendant’s

denial of full and equal access to its website, and therefore denial of its products and services

offered, and in conjunction with its physical locations, is a violation of Plaintiff’s rights under the

Americans with Disabilities Act (the “ADA”).

               5. Plaintiff visited Defendant’s website for purposes of making a purchase.

However, Plaintiff is also an advocate of the rights of similarly situated disabled persons and is a

“tester” for the purpose of asserting her civil rights and monitoring, ensuring, and determining

whether places of public accommodation and/or their websites and apps are in compliance with

the ADA.

               6. Rawapothecary.com provides to the public a wide array of the goods, services,

price specials, employment opportunities and other programs. Yet, rawapothecary.com contains

thousands of access barriers that make it difficult if not impossible for blind and visually-impaired

customers to use the website. In fact, the access barriers make it impossible for blind and visually-

impaired users to even complete a transaction on the website. Thus, Raw Apothecary excludes

the blind and visually-impaired from the full and equal participation in the growing Internet

economy that is increasingly a fundamental part of the common marketplace and daily living. In

the wave of technological advances in recent years, assistive computer technology is becoming an
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increasingly prominent part of everyday life, allowing blind and visually-impaired persons to fully

and independently access a variety of services.

               7. The blind have an even greater need than the sighted to shop and conduct

transactions online due to the challenges faced in mobility. The lack of an accessible website

means that blind people are excluded from experiencing transacting with Defendant’s website and

from purchasing goods or services from Defendant’s website.

               8. Despite readily available accessible technology, such as the technology in use at

other heavily trafficked retail websites, which makes use of alternative text, accessible forms,

descriptive links, resizable text and limits the usage of tables and JavaScript, Defendant has chosen

to rely on an exclusively visual interface. Raw Apothecary’s sighted customers can independently

browse, select, and buy online without the assistance of others. However, blind persons must rely

on sighted companions to assist them in accessing and purchasing on rawapothecary.com.

               9. By failing to make the website accessible to blind persons, Defendant is violating

basic equal access requirements under both state and federal law.

               10. Congress provided a clear and national mandate for the elimination of

discrimination against individuals with disabilities when it enacted the ADA. Such discrimination

includes barriers to full integration, independent living, and equal opportunity for persons with

disabilities, including those barriers created by websites and other public accommodations that are

inaccessible to blind and visually impaired persons. Similarly, New York state law requires places

of public accommodation to ensure access to goods, services, and facilities by making reasonable

accommodations for persons with disabilities.

               11. Plaintiff browsed and intended to make an online purchase of skincare products

including the Shea Butter and the Castor Oil on rawapothecary.com. However, unless Defendant

remedies the numerous access barriers on its website, Plaintiff and Class members will continue
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to be unable to independently navigate, browse, use, and complete a transaction on

rawapothecary.com.

               12. Because Defendant’s website, rawapothecary.com, is not equally accessible to

blind and visually-impaired consumers, it violates the ADA. Plaintiff seeks a permanent injunction

to cause a change in Raw Apothecary’s policies, practices, and procedures so that Defendant’s

website will become and remain accessible to blind and visually-impaired consumers. This

complaint also seeks compensatory damages to compensate Class members for having been

subjected to unlawful discrimination.

                                JURISDICTION AND VENUE

               13. This Court has subject matter jurisdiction over this action under 28 U.S.C. §

1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title III of the ADA, 42 U.S.C. §

12181 et seq., and 28 U.S.C. § 1332, because this is a class action, as defined by 28 U.S.C. §

1332(d)(1)(B), in which a member of the putative class is a citizen of a different state than

Defendant, and the amount in controversy exceeds the sum or value of $5,000,000, excluding

interest and costs. See 28 U.S.C. § 133(d)(2).

               14. This Court also has supplemental jurisdiction over pursuant to 28 U.S.C. §

1367, over Plaintiff’s pendent claims under the New York State Human Rights Law, N.Y. Exec.

Law, Article 15 (Executive Law § 290 et seq.) and the New York City Human Rights Law, N.Y.C.

Administrative Code § 8-101 et seq. (“City Law”).

               15. Venue is proper in this District of New York pursuant to 28 U.S.C. §§ 1391(b)-

(c) and 144(a) because Plaintiff resides in this District, Defendant conducts and continues to

conduct a substantial and significant amount of business in this District, and a substantial portion

of the conduct complained of herein occurred in this District.



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                16. Defendant is registered to do business in New York State and has been

conducting business in New York State, including in this District. Defendant purposefully targets

and otherwise solicits business from New York State residents through its website. Because of this

targeting, it is not unusual for Raw Apothecary to conduct business with New York State residents.

Defendant also has been and is committing the acts alleged herein in this District and has been and

is violating the rights of consumers in this District and has been and is causing injury to consumers

in this District. A substantial part of the act and omissions giving rise to Plaintiff’s claims have

occurred in this District. A substantial part of the act and omissions giving rise to Plaintiff’s claims

have occurred in this District. Most courts support the placement of venue in the district in which

Plaintiff tried and failed to access the Website. In Access Now, Inc. v. Otter Products, LLC 280

F.Supp.3d 287 (D. Mass. 2017), Judge Patti B. Saris ruled that “although the website may have

been created and operated outside of the district, the attempts to access the website in

Massachusetts are part of the sequence of events underlying the claim. Therefore, venue is proper

in [the District of Massachusetts].” Otter Prods., 280 F.Supp.3d at 294. This satisfies Due Process

because the harm – the barred access to the website – occurred here.” Otter Prods., 280 F.Supp.3d

at 293. Additionally, in Access Now, Inc. v. Sportswear, Inc., No. 17-cv-11211-NMG, 2018 Dist.

LEXIS 47318 (D. Mass. Mar. 22, 2018), Judge Nathaniel M. Gorton stated that the Defendant

“availed itself of the forum state’s economic activities by targeting the residents of the

Commonwealth . . . . Such targeting evinces a voluntary attempt to appeal to the customer base in

the forum.” Sportswear, No. 1:17-cv-11211-NMG, 2018 U.S. Dist. LEXIS 47318 at *11. Thus,

establishing a customer base in a particular district is sufficient cause for venue placement.

                                              PARTIES

                17. Plaintiff, is and has been at all relevant times a resident of Bronx County,

State of New York.
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               18. Plaintiff is legally blind and a member of a protected class under the ADA, 42

U.S.C. § 12102(l)-(2), the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et

seq., the New York State Human Rights Law and the New York City Human Rights Law.

Plaintiff, Linda Slade, cannot use a computer without the assistance of screen reader software.

Plaintiff, Linda Slade, has been denied the full enjoyment of the facilities, goods and services of

rawapothecary.com, as a result of accessibility barriers on rawapothecary.com.

               19. Defendant, Raw Apothecary LLC, is a Michigan Foreign Limited Liability

Company doing business in New York with its principal place of business located at 282 West

Maple Road, Birmingham, MI 48009.

               20. Raw Apothecary provides to the public a website known as

rawapothecary.com which provides consumers with access to an array of goods and services,

including, the ability to view the various lines of natural skincare products including butter, oils,

and soaps, make purchases, and learn about promotions, among other features. Consumers

across the United States use Defendant’s website to purchase natural skincare products.

Defendant’s products are sold at many retailers throughout the country including retailers in this

district. Defendant maintains dominion and control over how its products are sold at its partner

retailers. Defendant’s website is a place of public accommodation within the definition of Title

III of the ADA, 42 U.S.C. § 12181(7). See Victor Andrews v. Blick Art Materials, LLC, No. 17-

cv-767, 2017 WL 3278898 (E.D.N.Y. August 1, 2017) and Romero v. 88 Acres Foods, Inc., 20-

cv-9215 (KMW), 2022 U.S. Dist. LEXIS 9040, at *7 (S.D.N.Y. Jan. 18, 2022). The

inaccessibility of rawapothecary.com has deterred Plaintiff from buying skincare products

including the Shea Butter and Castor Oil.




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                                    NATURE OF THE CASE

               21. The Internet has become a significant source of information, a portal, and a tool

for conducting business, doing everyday activities such as shopping, learning, banking,

researching, as well as many other activities for sighted, blind and visually-impaired persons alike.

               22. The blind access websites by using keyboards in conjunction with screen-

reading software which vocalizes visual information on a computer screen. Except for a blind

person whose residual vision is still sufficient to use magnification, screen access software

provides the only method by which a blind person can independently access the Internet. Unless

websites are designed to allow for use in this manner, blind persons are unable to fully access

Internet websites and the information, products and services contained therein.

               23. For screen-reading software to function, the information on a website must be

capable of being rendered into text. If the website content is not capable of being rendered into

text, the blind user is unable to access the same content available to sighted users.

               24. Blind users of Windows operating system-enabled computers and devises have

several screen-reading software programs available to them. Job Access With Speech, otherwise

known as “JAWS” is currently the most popular, separately purchase and downloaded screen-

reading software program available for blind computer users.

               25. The international website standards organization, the World Wide Web

Consortium, known throughout the world as W3C, has published version 2.1 of the Web Content

Accessibility Guidelines (“WCAG 2.1”). WCAG 2.1 are well-established guidelines for making

websites accessible to blind and visually-impaired persons. These guidelines are universally

followed by most large business entities and government agencies to ensure their websites are

accessible.   Many Courts have also established WCAG 2.1 as the standard guideline for

accessibility. The federal government has also promulgated website accessibility standards under
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Section 508 of the Rehabilitation Act. These guidelines are readily available via the Internet, so

that a business designing a website can easily access them. These guidelines recommend several

basic components for making websites accessible, including but not limited to: adding invisible

alt-text to graphics, ensuring that all functions can be performed using a keyboard and not just a

mouse, ensuring that image maps are accessible, and adding headings so that blind persons can

easily navigate the site. Without these very basic components, a website will be inaccessible to a

blind person using a screen reader. Websites need to be accessible to the “least sophisticated” user

of screen-reading software and need to be able to work with all browsers.

                                  FACTUAL ALLEGATIONS

               26. Defendant controls and operates rawapothecary.com. in New York State and

throughout the United States.

               27. Rawapothecary.com is a commercial website that offers products and services

for online sale. The online store allows the user to browse the various lines of natural skincare

products including butter, oils, and soaps, make purchases, and perform a variety of other

functions.

               28. Among the features offered by rawapothecary.com are the following:

               (a) Consumers may use the website to connect with Raw Apothecary on social

media, using such sites as Facebook, Twitter, Instagram, and Pinterest;

               (b) an online store, allowing customers to purchase natural skincare products

including butter, oils, and soaps for delivery to their doorstep; and

               (c) learning about the product and the company, read reviews, learn about shipping

and return policies, and learn about promotions.

               29. This case arises out of Raw Apothecary’s policy and practice of denying the

blind access to the goods and services offered by rawapothecary.com. Due to Raw Apothecary’s
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failure and refusal to remove access barriers to rawapothecary.com, blind individuals have been

and are being denied equal access to Raw Apothecary, as well as to the numerous goods, services

and benefits offered to the public through rawapothecary.com.

               30. Raw Apothecary denies the blind access to goods, services and information

made available through rawapothecary.com by preventing them from freely navigating

rawapothecary.com.

               31. rawapothecary.com contains access barriers that prevent free and full use by

Plaintiff and blind persons using keyboards and screen-reading software. These barriers are

pervasive and include, but are not limited to: lack of alt-text on graphics, inaccessible drop-down

menus, the lack of navigation links, the lack of adequate prompting and labeling, the denial of

keyboard access, empty links that contain no text, redundant links where adjacent links go to the

same URL address, and the requirement that transactions be performed solely with a mouse.

               32. Alternative text (“Alt-text”) is invisible code embedded beneath a graphical

image on a website. Web accessibility requires that alt-text be coded with each picture so that a

screen-reader can speak the alternative text while sighted users see the picture. Alt-text does not

change the visual presentation except that it appears as a text pop-up when the mouse moves over

the picture. There are many important pictures on rawapothecary.com that lack a text equivalent.

The lack of alt-text on these graphics prevents screen readers from accurately vocalizing a

description of the graphics (screen-readers detect and vocalize alt-text to provide a description of

the image to a blind computer user). As a result, Plaintiff and blind rawapothecary.com customers

are unable to determine what is on the website, browse the website or investigate and/or make

purchases.

               33. rawapothecary.com also lacks prompting information and accommodations

necessary to allow blind shoppers who use screen-readers to locate and accurately fill-out online
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forms. On a shopping site such as rawapothecary.com, these forms include search fields to select

size and quantity and fields used to fill-out personal information, including address and credit

card information. Due to lack of adequate labeling, Plaintiff and blind customers cannot make

purchases or inquiries as to Defendant’s merchandise, nor can they enter their personal

identification and financial information with confidence and security.

               34. Specifically, when Plaintiff attempted to make a purchase using JAWS, she

encountered the following problems:

       It is impossible to add an item to the shopping cart in this Website. When Plaintiff
        clicked on Add to Cart, she did not receive a verbal notification that the product was
        added to the shopping cart. In fact, there was no notification at all. Plaintiff and other
        screen reader users will assume that the Add to Cart button does not function and that
        items cannot be added to the shopping cart. Sighted visitors to the website can see that
        the Add to Cart button is replaced with the word “Added.” However, blind visitors to the
        website cannot see this change and do not receive any verbal notification. This is a
        critical error.
       Plaintiff was unable to complete the checkout process because no error notification is
        provided. if a checkout form is submitted with errors, the system responds by
        highlighting each problematic field in red and it included an error message in each field,
        but no announcement is made. Plaintiff and other screen reader users do not hear that
        errors are present, nor do they hear that the form wasn't submitted. Therefore, they are
        unable to complete the checkout process. This is a critical error.
Consequently, Plaintiff and blind visitors to the website are unable to complete a transaction.

               35. Furthermore, rawapothecary.com lacks accessible image maps. An image

map is a function that combines multiple words and links into one single image. Visual details

on this single image highlight different “hot spots” which, when clicked on, allow the user to

jump to many different destinations within the website. For an image map to be accessible, it

must contain alt-text for the various “hot spots.” The image maps on rawapothecary.com’s menu

pages do not contain adequate alt-text and are therefore inaccessible to Plaintiff and the other

blind individuals attempting to make a purchase.


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               36. rawapothecary.com also lacks accessible forms. Plaintiff is unable to locate

the shopping cart because the shopping basket form does not specify the purpose of the shopping

cart. As a result, blind customers are denied access to the shopping cart and to the ability to

check out. Consequently, blind customers are unsuccessful in adding products into their

shopping carts and are essentially prevented from purchasing items on rawapothecary.com.

               37. Moreover, the lack of navigation links on Defendant’s website makes

attempting to navigate through rawapothecary.com even more time consuming and confusing for

Plaintiff and blind consumers.

               38. rawapothecary.com requires the use of a mouse to complete a transaction.

Yet, it is a fundamental tenet of web accessibility that for a web page to be accessible to Plaintiff

and blind people, it must be possible for the user to interact with the page using only the

keyboard. Indeed, Plaintiff and blind users cannot use a mouse because manipulating the mouse

is a visual activity of moving the mouse pointer from one visual spot on the page to another.

Thus, rawapothecary.com’s inaccessible design, which requires the use of a mouse to complete a

transaction, denies Plaintiff and blind customers the ability to independently navigate and/or

make purchases on rawapothecary.com.

               39. Due to rawapothecary.com’s inaccessibility, Plaintiff and blind customers

must in turn spend time, energy, and/or money to make their purchases at traditional brick-and-

mortar retailers. Some blind customers may require a driver to get to the stores or require

assistance in navigating the stores. By contrast, if rawapothecary.com was accessible, a blind

person could independently investigate products and make purchases via the Internet as sighted

individuals can and do. According to WCAG 2.1 Guideline 2.4.1, a mechanism is necessary to

bypass blocks of content that are repeated on multiple webpages because requiring users to

extensively tab before reaching the main content is an unacceptable barrier to accessing the
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website. Plaintiff must tab through every navigation bar option and footer on Defendant’s

website in an attempt to reach the desired service. Thus, rawapothecary.com’s inaccessible

design, which requires the use of a mouse to complete a transaction, denies Plaintiff and blind

customers the ability to independently make purchases on rawapothecary.com.

               40. rawapothecary.com thus contains access barriers which deny the full and

equal access to Plaintiff, who would otherwise use rawapothecary.com and who would otherwise

be able to fully and equally enjoy the benefits and services of rawapothecary.com in New York

State and throughout the United States.

               41. Plaintiff, Linda Slade, has made numerous attempts to complete a purchase on

rawapothecary.com, most recently on October 29, 2022, but was unable to do so independently

because of the many access barriers on Defendant’s website. These access barriers have caused

rawapothecary.com to be inaccessible to, and not independently usable by, blind and visually-

impaired persons. Amongst other access barriers experienced, Plaintiff was unable to purchase

skincare products including the Shea Butter and Castor Oil. Moreover, if Defendant removes the

access barriers that currently exist on the Website, Plaintiff will definitely visit the Website in the

future to inquire about additional and new skincare products for delivery to her doorstep.

Defendant’s products are well established and known for their natural raw ingredients and the

company is known for its sustainability. If the website was accessible to the blind, Plaintiff will

be able to visit the website and purchase additional skincare products on Defendant’s website.

Defendant has bought similar items from other (accessible) online vendors in the past. However,

since Defendant’s products and selection are made with raw ingredients and are sustainable,

Plaintiff would continue to make purchases on Defendant’s website if it was accessible. She

would like to try the different butter products that are offered for sale. Unlike a brick-and-mortar

facility, a website is instantly accessible at any moment, and, thus, an inability to make a
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purchase can only be attributed to access barriers (whereas for brick-and-mortal locations it can

be attributed to proximity, travel time, etc.). See Sanchez v. Nutco, Inc., 10-CV-10107 (JPO),

2022 U.S. Dist. LEXIS 51247, at *7 (S.D.N.Y. Mar. 22, 2022) (citing Quezada v U.S. Wings,

Inc., 20 Civ. 10707 (ER), 2021 U.S. Dist. LEXIS 234057, at *4 (S.D.N.Y. Dec. 7 2021)).

Determining whether an ADA website accessibility complaint properly allege whether plaintiff

lives in “close proximity” to a specific location makes no sense when goods can be browsed,

bought, and delivered to Plaintiff’s home through a website. Likewise, factual considerations of

an intent to return regarding a physical location, such as how often the plaintiff walks by the

location, or how often they enter the facility, are not applicable. Cf. Lopez v. Arby Franchisor,

LLC, 19-CV-10074 (VSB) 2021 U.S. Dist. LEXIS 43838. at *10 (S.D.N.Y. March 8, 2021).

Plaintiff made numerous attempts to make purchases on the website during September and

October, 2022 without success and will definitely make purchases of additional products,

including butter in different scents, amongst many other products which are sold on the website

and which currently cannot be purchased by blind persons.

               42. As described above, Plaintiff has actual knowledge of the fact that

Defendant’s website, rawapothecary.com, contains access barriers causing the website to be

inaccessible, and not independently usable by, blind and visually-impaired persons.

               43. These barriers to access have denied Plaintiff full and equal access to, and

enjoyment of, the goods, benefits and services of rawapothecary.com.

               44. Defendant engaged in acts of intentional discrimination, including but not

limited to the following policies or practices:

               (a) constructed and maintained a website that is inaccessible to blind class

members with knowledge of the discrimination; and/or



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               (b) constructed and maintained a website that is sufficiently intuitive and/or

obvious that is inaccessible to blind class members; and/or

               (c) failed to take actions to correct these access barriers in the face of substantial

harm and discrimination to blind class members.

               45. Defendant utilizes standards, criteria or methods of administration that have

the effect of discriminating or perpetuating the discrimination of others.

               46. Because of Defendant’s denial of full and equal access to, and enjoyment of,

the goods, benefits and services of rawapothecary.com, Plaintiff and the class have suffered an

injury-in-fact which is concrete and particularized and actual and is a direct result of Defendant’s

conduct.

                              CLASS ACTION ALLEGATIONS

               47. Plaintiff, on behalf of herself and all others similarly situated, seeks

certification of the following nationwide class pursuant to Rule 23(a) and 23(b)(2) of the Federal

Rules of Civil Procedure: “all legally blind individuals in the United States who have attempted

to access rawapothecary.com and as a result have been denied access to the enjoyment of goods

and services offered by rawapothecary.com, during the relevant statutory period.”

               48. Plaintiff seeks certification of the following New York subclass pursuant to

Fed.R.Civ.P. 23(a), 23(b)(2), and, alternatively, 23(b)(3): “all legally blind individuals in New

York State who have attempted to access rawapothecary.com and as a result have been denied

access to the enjoyment of goods and services offered by rawapothecary.com, during the relevant

statutory period.”

               49. There are hundreds of thousands of visually-impaired persons in New York

State. There are approximately 8.1 million people in the United States who are visually-

impaired. Id. Thus, the persons in the class are so numerous that joinder of all such persons is
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impractical and the disposition of their claims in a class action is a benefit to the parties and to

the Court.

               50. This case arises out of Defendant’s policy and practice of maintaining an

inaccessible website denying blind persons access to the goods and services of

rawapothecary.com. Due to Defendant’s policy and practice of failing to remove access barriers,

blind persons have been and are being denied full and equal access to independently browse,

select and shop on rawapothecary.com.

               51. There are common questions of law and fact common to the class, including

without limitation, the following:

               (a) Whether rawapothecary.com is a “public accommodation” under the ADA;

               (b) Whether rawapothecary.com is a “place or provider of public

accommodation” under the laws of New York;

               (c) Whether Defendant, through its website, rawapothecary.com, denies the full

and equal enjoyment of its goods, services, facilities, privileges, advantages, or accommodations

to people with visual disabilities in violation of the ADA; and

               (d) Whether Defendant, through its website, rawapothecary.com, denies the full

and equal enjoyment of its goods, services, facilities, privileges, advantages, or accommodations

to people with visual disabilities in violation of the law of New York.

               52. The claims of the named Plaintiff are typical of those of the class. The class,

similar to the Plaintiff, is severely visually-impaired or otherwise blind, and claims Raw

Apothecary has violated the ADA, and/or the laws of New York by failing to update or remove

access barriers on their website, rawapothecary.com, so it can be independently accessible to the

class of people who are legally blind.



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                 53. Plaintiff will fairly and adequately represent and protect the interests of the

members of the Class because Plaintiff has retained and is represented by counsel competent and

experienced in complex class action litigation, and because Plaintiff has no interests antagonistic

to the members of the class. Class certification of the claims is appropriate pursuant to Fed. R.

Civ. P. 23(b)(2) because Defendant has acted or refused to act on grounds generally applicable to

the Class, making appropriate both declaratory and injunctive relief with respect to Plaintiff and

the Class as a whole.

                 54. Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3)

because questions of law and fact common to Class members clearly predominate over questions

affecting only individual class members, and because a class action is superior to other available

methods for the fair and efficient adjudication of this litigation.

                 55. Judicial economy will be served by maintenance of this lawsuit as a class

action in that it is likely to avoid the burden that would be otherwise placed upon the judicial

system by the filing of numerous similar suits by people with visual disabilities throughout the

United States.

                 56. References to Plaintiff shall be deemed to include the named Plaintiff and

each member of the class, unless otherwise indicated.

                                FIRST CAUSE OF ACTION
   (Violation of 42 U.S.C. §§ 12181 et seq. – Title III of the Americans with Disabilities Act)

                 57. Plaintiff repeats, realleges and incorporates by reference the allegations

contained in paragraphs 1 through 56 of this Complaint as though set forth at length herein.

                 58. Title III of the American with Disabilities Act of 1990, 42 U.S.C. § 12182(a)

provides that “No individual shall be discriminated against on the basis of disability in the full

and equal enjoyment of the goods, services, facilities, privileges, advantages, or accommodations

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of any place of public accommodation by any person who owns, leases (or leases to), or operates

a place of public accommodation.” Title III also prohibits an entity from “[u]tilizing standards or

criteria or methods of administration that have the effect of discriminating on the basis of

disability.” 42 U.S.C. § 12181(b)(2)(D)(I).

               59. rawapothecary.com is a sales establishment and public accommodation within

the definition of 42 U.S.C. §§ 12181(7).

               60. Defendant is subject to Title III of the ADA because it owns and operates

rawapothecary.com.

               61. Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(I), it is unlawful

discrimination to deny individuals with disabilities or a class of individuals with disabilities the

opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

or accommodations of an entity.

               62. Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(II), it is unlawful

discrimination to deny individuals with disabilities or a class of individuals with disabilities an

opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

or accommodation, which is equal to the opportunities afforded to other individuals.

               63. Specifically, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(II),

unlawful discrimination includes, among other things, “a failure to make reasonable

modifications in policies, practices, or procedures, when such modifications are necessary to

afford such goods, services, facilities, privileges, advantages, or accommodations to individuals

with disabilities, unless the entity can demonstrate that making such modifications would

fundamentally alter the nature of such goods, services, facilities, privileges, advantages or

accommodations.”



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               64. In addition, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(III),

unlawful discrimination also includes, among other things, “a failure to take such steps as may

be necessary to ensure that no individual with disability is excluded, denied services, segregated

or otherwise treated differently than other individuals because of the absence of auxiliary aids

and services, unless the entity can demonstrate that taking such steps would fundamentally alter

the nature of the good, service, facility, privilege, advantage, or accommodation being offered or

would result in an undue burden.”

               65. There are readily available, well-established guidelines on the Internet for

making websites accessible to the blind and visually-impaired. These guidelines have been

followed by other business entities in making their websites accessible, including but not limited

to ensuring adequate prompting and accessible alt-text. Incorporating the basic components to

make their website accessible would neither fundamentally alter the nature of Defendant’s

business nor result in an undue burden to Defendant.

               66. The acts alleged herein constitute violations of Title III of the ADA, 42 U.S.C.

§ 12101 et seq., and the regulations promulgated thereunder. Patrons of Raw Apothecary who

are blind have been denied full and equal access to rawapothecary.com, have not been provided

services that are provided to other patrons who are not disabled, and/or have been provided

services that are inferior to the services provided to non-disabled patrons.

               67. Defendant has failed to take any prompt and equitable steps to remedy its

discriminatory conduct. These violations are ongoing.

               68. As such, Defendant discriminates, and will continue in the future to

discriminate against Plaintiff and members of the proposed class and subclass on the basis of

disability in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,



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accommodations and/or opportunities of rawapothecary.com in violation of Title III of the

Americans with Disabilities Act, 42 U.S.C. §§ 12181 et seq. and/or its implementing regulations.

               69. Unless the Court enjoins Defendant from continuing to engage in these

unlawful practices, Plaintiff and members of the proposed class and subclass will continue to

suffer irreparable harm.

               70. The actions of Defendant were and are in violation of the ADA, and therefore

Plaintiff invokes her statutory right to injunctive relief to remedy the discrimination.

               71. Plaintiff is also entitled to reasonable attorneys’ fees and costs.

               72. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights set

forth and incorporated therein, Plaintiff prays for judgment as set forth below.

                               SECOND CAUSE OF ACTION
               (Violation of New York State Human Rights Law, N.Y. Exec. Law
                            Article 15 (Executive Law § 292 et seq.))

               73. Plaintiff repeats, realleges and incorporates by reference the allegations

contained in paragraphs 1 through 72 of this Complaint as though set forth at length herein.

               74. N.Y. Exec. Law § 296(2)(a) provides that it is “an unlawful discriminatory

practice for any person, being the owner, lessee, proprietor, manager, superintendent, agent, or

employee of any place of public accommodation . . . because of the . . . disability of any person,

directly or indirectly, to refuse, withhold from or deny to such person any of the

accommodations, advantages, facilities or privileges thereof.”.

               75. rawapothecary.com is a sales establishment and public accommodation within

the definition of N.Y. Exec. Law § 292(9).

               76. Defendant is subject to the New York Human Rights Law because it owns and

operates rawapothecary.com. Defendant is a person within the meaning of N.Y. Exec. Law. §

292(1).
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               77. Defendant is violating N.Y. Exec. Law § 296(2)(a) in refusing to update or

remove access barriers to rawapothecary.com, causing rawapothecary.com to be completely

inaccessible to the blind. This inaccessibility denies blind patrons the full and equal access to the

facilities, goods and services that Defendant makes available to the non-disabled public.

               78. Specifically, under N.Y. Exec. Law § unlawful discriminatory practice

includes, among other things, “a refusal to make reasonable modifications in policies, practices,

or procedures, when such modifications are necessary to afford facilities, privileges, advantages

or accommodations to individuals with disabilities, unless such person can demonstrate that

making such modifications would fundamentally alter the nature of such facilities, privileges,

advantages or accommodations.”

               79. In addition, under N.Y. Exec. Law § 296(2)(c)(II), unlawful discriminatory

practice also includes, “a refusal to take such steps as may be necessary to ensure that no

individual with a disability is excluded or denied services because of the absence of auxiliary

aids and services, unless such person can demonstrate that taking such steps would

fundamentally alter the nature of the facility, privilege, advantage or accommodation being

offered or would result in an undue burden.”

               80. There are readily available, well-established guidelines on the Internet for

making websites accessible to the blind and visually-impaired. These guidelines have been

followed by other business entities in making their website accessible, including but not limited

to: adding alt-text to graphics and ensuring that all functions can be performed by using a

keyboard. Incorporating the basic components to make their website accessible would neither

fundamentally alter the nature of Defendant’s business nor result in an undue burden to

Defendant.



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               81. Defendant’s actions constitute willful intentional discrimination against the

class on the basis of a disability in violation of the New York State Human Rights Law, N.Y.

Exec. Law § 296(2) in that Defendant has:

               (a) constructed and maintained a website that is inaccessible to blind class

members with knowledge of the discrimination; and/or

               (b) constructed and maintained a website that is sufficiently intuitive and/or

obvious that is inaccessible to blind class members; and/or

               (c) failed to take actions to correct these access barriers in the face of substantial

harm and discrimination to blind class members.

               82. Defendant has failed to take any prompt and equitable steps to remedy their

discriminatory conduct. These violations are ongoing.

               83. As such, Defendant discriminates, and will continue in the future to

discriminate against Plaintiff and members of the proposed class and subclass on the basis of

disability in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

accommodations and/or opportunities of rawapothecary.com under N.Y. Exec. Law § 296(2) et

seq. and/or its implementing regulations. Unless the Court enjoins Defendant from continuing to

engage in these unlawful practices, Plaintiff and members of the class will continue to suffer

irreparable harm.

               84. The actions of Defendant were and are in violation of the New York State

Human Rights Law and therefore Plaintiff invokes her right to injunctive relief to remedy the

discrimination.

               85. Plaintiff is also entitled to compensatory damages, as well as civil penalties

and fines pursuant to N.Y. Exec. Law § 297(4)(c) et seq. for each and every offense.

               86. Plaintiff is also entitled to reasonable attorneys’ fees and costs.
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               87. Pursuant to N.Y. Exec. Law § 297 and the remedies, procedures, and rights set

forth and incorporated therein, Plaintiff prays for judgment as set forth below.

                                 THIRD CAUSE OF ACTION
                 (Violation of New York State Civil Rights Law, NY CLS Civ R,
                                Article 4 (CLS Civ R § 40 et seq.))

               88. Plaintiff repeats, realleges and incorporates by reference the allegations

contained in paragraphs 1 through 87 of this Complaint as though set forth at length herein.

               89. Plaintiff served notice thereof upon the attorney general as required by N.Y.

Civil Rights Law § 41.

               90. N.Y. Civil Rights Law § 40 provides that “all persons within the jurisdiction

of this state shall be entitled to the full and equal accommodations, advantages, facilities, and

privileges of any places of public accommodations, resort or amusement, subject only to the

conditions and limitations established by law and applicable alike to all persons. No persons,

being the owner, lessee, proprietor, manager, superintendent, agent, or employee of any such

place shall directly or indirectly refuse, withhold from, or deny to any person any of the

accommodations, advantages, facilities and privileges thereof . . .”

               91. N.Y. Civil Rights Law § 40-c(2) provides that “no person because of . . .

disability, as such term is defined in section two hundred ninety-two of executive law, be

subjected to any discrimination in his or her civil rights, or to any harassment, as defined in

section 240.25 of the penal law, in the exercise thereof, by any other person or by any firm,

corporation or institution, or by the state or any agency or subdivision.”

               92. rawapothecary.com is a sales establishment and public accommodation within

the definition of N.Y. Civil Rights Law § 40-c(2).




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                93. Defendant is subject to New York Civil Rights Law because it owns and

operates rawapothecary.com. Defendant is a person within the meaning of N.Y. Civil Law § 40-

c(2).

                94. Defendant is violating N.Y. Civil Rights Law § 40-c(2) in refusing to update

or remove access barriers to rawapothecary.com, causing rawapothecary.com to be completely

inaccessible to the blind. This inaccessibility denies blind patrons full and equal access to the

facilities, goods and services that Defendant makes available to the non-disabled public.

                95. There are readily available, well-established guidelines on the Internet for

making websites accessible to the blind and visually-impaired. These guidelines have been

followed by other business entities in making their website accessible, including but not limited

to: adding alt-text to graphics and ensuring that all functions can be performed by using a

keyboard. Incorporating the basic components to make their website accessible would neither

fundamentally alter the nature of Defendant’s business nor result in an undue burden to

Defendant.

                96. In addition, N.Y. Civil Rights Law § 41 states that “any corporation which

shall violate any of the provisions of sections forty, forty-a, forty-b or forty two . . . shall for each

and every violation thereof be liable to a penalty of not less than one hundred dollars nor more

than five hundred dollars, to be recovered by the person aggrieved thereby . . .”

                97. Specifically, under N.Y. Civil Rights Law § 40-d, “any person who shall

violate any of the provisions of the foregoing section, or subdivision three of section 240.30 or

section 240.31 of the penal law, or who shall aid or incite the violation of any of said provisions

shall for each and every violation thereof be liable to a penalty of not less than one hundred

dollars nor more than five hundred dollars, to be recovered by the person aggrieved thereby in

any court of competent jurisdiction in the county in which the Defendant shall reside . . .”
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                98. Defendant has failed to take any prompt and equitable steps to remedy their

discriminatory conduct. These violations are ongoing.

                99. As such, Defendant discriminates, and will continue in the future to

discriminate against Plaintiff and members of the proposed class on the basis of disability are

being directly indirectly refused, withheld from, or denied the accommodations, advantages,

facilities and privileges thereof in § 40 et seq. and/or its implementing regulations.

                100. Plaintiff is entitled to compensatory damages of five hundred dollars per

instance, as well as civil penalties and fines pursuant to N.Y. Civil Rights Law § 40 et seq. for

each and every offense.

                                  FOURTH CAUSE OF ACTION
                          (Violation of New York City Human Rights Law,
                            N.Y.C. Administrative Code § 8-102, et seq.)

                101. Plaintiff repeats, realleges and incorporates by reference the allegations

contained in paragraphs 1 through 100 of this Complaint as though set forth at length herein.

                102. N.Y.C. Administrative Code § 8-107(4)(a) provides that “it shall be an

unlawful discriminatory practice for any person, being the owner, lessee, proprietor, manager,

superintendent, agent or employee of any place or provider of public accommodation, because of

. . . disability . . . directly or indirectly, to refuse, withhold from or deny to such person, any of

the accommodations, advantages, facilities or privileges thereof.”

                103. rawapothecary.com is a sales establishment and public accommodation

within the definition of N.Y.C. Administrative Code § 8-102(9).

                104. Defendant is subject to City Law because it owns and operates

rawapothecary.com. Defendant is a person within the meaning of N.Y.C. Administrative Code §

8-102(1).



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                105. Defendant is violating N.Y.C. Administrative Code § 8-107(4)(a) in refusing

to update or remove access barriers to rawapothecary.com, causing rawapothecary.com to be

completely inaccessible to the blind. This inaccessibility denies blind patrons full and equal

access to the facilities, goods, and services that Defendant makes available to the non-disabled

public. Specifically, Defendant is required to “make reasonable accommodation to the needs of

persons with disabilities . . . any person prohibited by the provisions of [§ 8-107 et seq.] from

discriminating on the basis of disability shall make reasonable accommodation to enable a

person with a disability to . . . enjoy the right or rights in question provided that the disability is

known or should have been known by the covered entity.” N.Y.C. Administrative Code § 8-

107(15)(a).

                106. Defendant’s actions constitute willful intentional discrimination against the

class on the basis of a disability in violation of the N.Y.C. Administrative Code § 8-107(4)(a)

and § 8-107(15)(a) in that Defendant has:

                (a) constructed and maintained a website that is inaccessible to blind class

members with knowledge of the discrimination; and/or

                (b) constructed and maintained a website that is sufficiently intuitive and/or

obvious that is inaccessible to blind class members; and/or

                (c) failed to take actions to correct these access barriers in the face of substantial

harm and discrimination to blind class members.

                107. Defendant has failed to take any prompt and equitable steps to remedy their

discriminatory conduct. These violations are ongoing.

                108. As such, Defendant discriminates, and will continue in the future to

discriminate against Plaintiff and members of the proposed class and subclass on the basis of

disability in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,
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accommodations and/or opportunities of rawapothecary.com under N.Y.C. Administrative Code

§ 8-107(4)(a) and/or its implementing regulations. Unless the Court enjoins Defendant from

continuing to engage in these unlawful practices, Plaintiff and members of the class will continue

to suffer irreparable harm.

               109. The actions of Defendant were and are in violation of City law and therefore

Plaintiff invokes his right to injunctive relief to remedy the discrimination.

               110. Plaintiff is also entitled to compensatory damages, as well as civil penalties

and fines under N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) for each offense.

               111. Plaintiff is also entitled to reasonable attorneys’ fees and costs.

               112. Pursuant to N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) and the

remedies, procedures, and rights set forth and incorporated therein, Plaintiff prays for judgment

as set forth below.

                                  FIFTH CAUSE OF ACTION
                                      (Declaratory Relief)

               113. Plaintiff repeats, realleges and incorporates by reference the allegations

contained in paragraphs 1 through 112 of this Complaint as though set forth at length herein.

               114. An actual controversy has arisen and now exists between the parties in that

Plaintiff contends, and is informed and believes that Defendant denies, that rawapothecary.com

contains access barriers denying blind customers the full and equal access to the goods, services

and facilities of rawapothecary.com, which Raw Apothecary owns, operates and/or controls, fails

to comply with applicable laws including, but not limited to, Title III of the American with

Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., and N.Y.C.

Administrative Code § 8-107, et seq. prohibiting discrimination against the blind.




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               115. A judicial declaration is necessary and appropriate at this time in order that

each of the parties may know their respective rights and duties and act accordingly.

                                     PRAYER FOR RELIEF

               WHEREFORE, Plaintiff respectfully demands judgment in favor of Plaintiff and

the class and against the Defendant as follows:

   a)    A preliminary and permanent injunction to prohibit Defendant from violating the

         Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et

         seq., and N.Y.C. Administrative Code § 8-107, et seq., and the laws of New York;

   b)    A preliminary and permanent injunction requiring Defendant to take all the steps

         necessary to make its website, rawapothecary.com, into full compliance with the

         requirements set forth in the ADA, and its implementing regulations, so that

         rawapothecary.com is readily accessible to and usable by blind individuals;

   c)    A declaration that Defendant owns, maintains and/or operates its website,

         rawapothecary.com, in a manner which discriminates against the blind and which fails to

         provide access for persons with disabilities as required by Americans with Disabilities

         Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., and N.Y.C.

         Administrative Code § 8-107, et seq., and the laws of New York;

   d)    An order certifying this case as a class action under Fed. R. Civ. P. 23(a) & (b)(2) and/or

         (b)(3), appointing Plaintiff as Class Representative, and her attorneys as Class Counsel;

   e)    An order directing Defendant to continually update and maintain its website to ensure that

         it remains fully accessible to and usable by the visually-impaired;

   f)    Compensatory damages in an amount to be determined by proof, including all applicable

         statutory damages and fines, to Plaintiff and the proposed class for violations of their civil

         rights under New York State Human Rights Law and City Law;
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   g)    Plaintiff’s reasonable attorneys’ fees, expenses, and costs of suit as provided by state and

         federal law;

   h)    For pre- and post-judgment interest to the extent permitted by law; and

   i)    For such other and further relief which this court deems just and proper.

Dated: Scarsdale, New York
       November 1, 2022
                                                 SHAKED LAW GROUP, P.C.
                                                 Attorneys for Plaintiff

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